UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

x
THE FEDERAL SAVINGS BANK, Case No.: 21-cv-01400
~ Plaintiff, JUDGMENT OF
-against- FORECLOSURE
AND SALE
PAUL J. MANAFORT, et al.,
Defendants.
xX

Upon the Summons and Complaint (the "Complaint") filed herein on March 17, 2021;
upon the Notice of Pendency filed in the Kings County Clerk's Office on April 9, 2021; and upon
the So-Ordered Agreement (the “Agreement”) by and between Plaintiff and Defendants Paul J.
Manafort and Kathleen B. Manafort filed with this Court on December 1, 2021, the Court finds
that;

The amount agreed by the parties to be owed to Plaintiff on the Notes ("Notes") and
Mortgages (“Mortgages”) at issue in this matter is $6,257,396.62, including interest, as of
November 17, 2021 and that interest accrues thereafter at the rate of $857.51 per diem as set
forth in the Agreement.

NOW, upon proof of due notice of this application upon Defendants;

On Motion of Meltzer, Lippe, Goldstein & Breitstone, LLP, attorneys for Plaintiff;

And, upon the Agreement, it is

ORDERED, that the application for entry of this Judgment of Foreclosure and Sale, as
agreed to by Defendants in the Agreement, is granted on consent; and it is further

ORDERED, that the caption of this action is amended to delete references to the “John

Doe” defendants and to be hereinafter

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EASTERN DISTRICT OF NEW YORK

 

 

x
THE FEDERAL SAVINGS BANK, Case No.: 21-cv-01400
Plaintiff,
-against-
PAUL J. MANAFORT and
KATHLEEN B. MANAFORT,
Defendants.
x

and it is further

ORDERED, ADJUDGED AND DECREED, that the appointment of a referee to
compute the amount due to Plaintiff has been waived pursuant to the Agreement whereby the
parties have agreed to the amount due under the terms of the Notes and Mortgages; and it is
further

ORDERED, ADJUDGED AND DECREED, that this action be, and hereby is, referred

to , Esq. with offices located at

 

who is hereby appoint to be Referee to

 

conduct a sale at public auction of the mortgaged premises and to oversee the transfer of title in
connection with said sale; and it is further

ORDERED, that Plaintiff and/or its representatives may enter into the mortgaged
premises prior to the sale to: secure said premises, to allow potential bidders to view the
premises prior to the sale, to take photographs for purposes of advertising the sale and the like;
and it is further

ORDERED AND ADJUDGED, that the mortgaged premises described in the

Complaint and more fully described in Schedule "A" annexed hereto be sold pursuant to this

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Judgment at public auction to be held outside the front door of the Brooklyn Courthouse of the
Eastern District of New York, located at 225 Cadman Plaza East, Brooklyn, New York 11201
together with all right, title and interest of the owners thereof, if any, in and to the land lying in
the streets and road in front of said premises, to the center line thereof, together with all fixtures
and articles of personal property annexed to, installed in, or used in connection with the
mortgage premises, all as more fully set forth in the aforementioned mortgages; that said Referee
shall give public notice of the time and place of such sale in accordance with RPAPL §231 in the
Brooklyn Daily Eagle newspaper and, in the case Plaintiff shall become the purchaser at the said
sale, Plaintiff shall not be required to make any deposit thereon, that said Referee or his or her
duly appointed designee, execute to the purchaser or purchasers on such a sale a deed of the
premises sold, that in the event a third party other than Plaintiff becomes the purchaser or
purchasers at such sale, the closing of title shall be had thirty days after such sale unless
otherwise stipulated by all parties to the sale; and it is further

ORDERED, that said Referee or his or her duly appointed designee shall deposit the
proceeds of the sale in his or her own name as Referee in an FDIC Insured Bank and shall
thereafter make the following payments and his or her checks drawn for that purpose shall be
paid by said depository.

1* The sum of $750.00 to said Referee for his or her fees herein.

pnd The expenses of the sale and the advertising expenses as shown on the bills
presented to said Referee by Plaintiff and certified by him or her to be correct, duplicate copies
of which shall be left with said depository.

3r4 The sum of $6,257,396.62 (inclusive of costs), the amount the parties have agreed

to be due to Plaintiff as aforesaid, with interest from November 17, 2021 at the rate of $857.51

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per diem and also the amount of any sums expended by Plaintiff after November 17, 2021, for
taxes, assessments, water rates, utilities, sewer rents, and any other amounts paid by Plaintiff to
protect its mortgage liens herein with interest and penalties accrued thereon as allowed by the
Notes and Mortgages, or so much thereof as the purchase money of the mortgaged premises will
pay of the same; and it is further

ORDERED AND ADJUDGED, that said Referee or his or her duly appointed designee
shall take the receipt of Plaintiff or its attorney for the amounts paid as directed in items marked
“2d and "3"" and shall file it with his or her report of sale. That said Referee or his or her duly
appointed designee shall deposit the surplus monies, if any, with the aforesaid depository, within
5 days after the same shall be received and ascertainable, to the credit of this action, to be
withdrawn only on the order of a Judge of this Court; and it is further

ORDERED AND ADJUDGED, that in the event that Plaintiff is the purchaser of said
mortgaged premises at said sale, or in the event that the rights of the purchaser at said sale and
the terms of sale under this judgment shall be assigned to and be acquired by Plaintiff, and a
valid assignment thereof be filed with the said Referee or his or her duly appointed designee,
Plaintiff shall not be required to pay in cash the amount bid at such sale, but the Referee or his or
her duly appointed designee shall execute and deliver to Plaintiff a deed of the premises sold
upon Plaintiffs payment of the amount specified in the item marked "1%" above. Said Referee or
his or her duly appointed designee shall apply the balance of the amount bid after deducting
therefrom the aforesaid amount paid by Plaintiff, to the amounts due Plaintiff in the item marked
«2d and "3", and if there be a surplus over and above said amounts due Plaintiff, Plaintiff shall

pay to said Referee or his or her duly appointed designee upon delivery of said Referee's Deed,

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the amount of such surplus, and said Referee or his or her duly appointed designees shall deposit
said surplus as hereinabove directed; and it is further

ORDERED AND ADJUDGED, that the purchaser at said sale be let into possession on
production of the deed issued by said Referee or his or her duly appointed designee; and it is
further

ORDERED AND ADJUDGED, that each and all of the Defendants in this action, and
all the persons claiming under or through them, or any or either of them, after the filing of the
notice of the pendency of this action, be and hereby be forever barred and foreclosed of all right,
title, claim, interest, lien and equity of redemption in said mortgaged premises and each and
every part thereof; and it is further

ORDERED, ADJUDGED AND DECREED, that the mortgaged premises are to be
sold in one parcel in "as is" physical order and condition, subject to any state of facts that an
inspection of the premises would disclose, any state of facts that an accurate survey of the
premises would show; any covenants, restrictions, declarations, reservations, easements, rights of
way and public utility agreements of record, if any; any building and zoning ordinances or
restrictions of the municipality in which the mortgaged premises is located and possible
violations of same; any rights of tenants or person in possession of the subject premises; prior
lien(s) of record, if any, except those liens addressed in section 1354 of the Real Property
Actions and Proceedings Law; the physical condition of the premises at the time of closing; and
with any apportionments or adjustments. The mortgaged premises are commonly known as 377
Union Street, Brooklyn, NY 11226. A description of said mortgaged premises is annexed hereto

and made a part hereof as Schedule "A"; and it is further

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ORDERED, ADJURDGED AND DECREED, that Plaintiff waives it right to seek a
deficiency judgment pursuant to NY RPAPL §1371 or otherwise against Defendants Paul J.
Manafort and Kathleen B. Manafort in connection with the Notes and Mortgages at issue.

Dated: Brooklyn, New York
December __, 2021

 

The Honorable LaShann DeArcy Hall
United States District Court Judge

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